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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

MATTHEW PLISKIN, AS TRUSTEE                   )
OF THE ICPW NEVADA TRUST                      )
     Plaintiff,                               )
                                              )
v.                                            )       Civil Action No. 3:19-cv-01179-K
                                              )
ROBERT GOLDSTEIN and DRG                      )       JUDGE ED KINKEADE
STRATEGIC, LLC d/b/a MERIDIAN                 )
GLOBAL,                                       )
     Defendants.                              )

                             DEFENDANTS’ ORIGINAL ANSWER

       Defendants DRG Strategic, LLC, d/b/a Meridian Global (“DRG”) and Robert Goldstein

“Goldstein”)(DRG and Goldstein will be collectively referred to herein as “Defendants”) file

this Original Answer and would show the Court as follows:

1.     Plaintiff fails to state a claim upon which relief can be granted.

2.     Defendants deny the allegations in Paragraph 1 of Plaintiff’s Original Complaint.

3.      Defendants deny the allegations in Paragraph 2 of Plaintiff’s Original Complaint.

4.     Defendants are without sufficient information to admit or deny the allegations in

Paragraph 3 of Plaintiff’s Original Complaint.

5.     Defendants admit the allegations in Paragraph 4 of Plaintiff’s Original Complaint.

6.     Defendants deny the allegations in Paragraph 5 of Plaintiff’s Original Complaint as this

Court has jurisdiction over this matter.

7.     Defendants deny the allegations in Paragraph 6 of Plaintiff’s Original Complaint as venue

is proper in this Court.

8.     Defendants are without sufficient information to admit or deny the allegations in

Paragraph 7 of Plaintiff’s Original Complaint.


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9.      Defendants admit the factual allegations in the first two sentences of Paragraph 8 of

Plaintiff’s Original Complaint, but deny Plaintiff’s derogatory references to the three individuals

as set out in the parentheticals at the end of the first sentence of Paragraph 8. Defendants are

without sufficient information to admit or deny the allegations in the last sentence of Paragraph 8

of Plaintiff’s Original Complaint.

10.     Defendants admit the allegations in Paragraph 9 of Plaintiff’s Original Complaint.

11.     Defendants deny as worded the allegations in the first sentence of Paragraph 10 of

Plaintiff’s Original Complaint. Defendants admit DRG had done business with companies

where Cordes, Aisenberg and Felton were employed before they were employed by Ironclad, and

admit Goldstein knew they held various positions with Ironclad. Defendants deny the remainder

of the second sentence of Paragraph 10.

12.     Defendants are without sufficient information to admit or deny the allegations in

Paragraph 11 of Plaintiff’s Original Complaint.

13.     Defendants deny the allegations in Paragraph 12 of Plaintiff’s Original Complaint.

14.     Defendants deny the allegations in Paragraph 13 of Plaintiff’s Original Complaint.

Defendants admit DRG entered into three separate agreements with Ironclad with regard to

certain gloves Ironclad told DRG Ironclad owned that were in Canada and which Ironclad

needed to have labels removed in order to sell the gloves. Defendants deny they had any

knowledge of the effect of such transactions or that such transactions facilitated anything other

than the sale of the gloves in question.

15.     Defendants deny the allegations in Paragraph 14 of Plaintiff’s Original Complaint.

16.     Defendants deny the allegations in Paragraph 15 of Plaintiff’s Original Complaint.

17.     Defendants deny the allegations in Paragraph 16 of Plaintiff’s Original Complaint.

18.     Defendants deny the allegations in Paragraph 17 of Plaintiff’s Original Complaint.

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19.     Defendants deny the allegations in Paragraph 18 of Plaintiff’s Original Complaint.

20.     Defendants deny the allegations in Paragraph 19 of Plaintiff’s Original Complaint.

21.     Defendants deny the allegations in Paragraph 20 of Plaintiff’s Original Complaint.

22.     Defendants deny the allegations in Paragraph 21 of Plaintiff’s Original Complaint.

23.     Defendants deny the allegations in Paragraph 22 of Plaintiff’s Original Complaint.

24.     Defendants are without sufficient information to admit or deny the allegations in

Paragraph 23 of Plaintiff’s Original Complaint.

25.     Defendants deny the allegations in Paragraph 24 of Plaintiff’s Original Complaint.

26.     No responsive pleading is necessary to Paragraph 25 of Plaintiff’s Original Complaint.

27.     Defendants deny the allegations in Paragraph 26 of Plaintiff’s Original Complaint.

28.     Defendants are without sufficient information to admit or deny the allegations in

Paragraph 27 of Plaintiff’s Original Complaint.

29.     Defendants are without sufficient information to admit or deny the allegations in

Paragraph 28 of Plaintiff’s Original Complaint.

30.     Defendants deny the allegations in Paragraph 29 of Plaintiff’s Original Complaint.

31.     Defendants deny the allegations in Paragraph 30 of Plaintiff’s Original Complaint.

32.     Defendants deny the allegations in Paragraph 31 of Plaintiff’s Original Complaint.

33.     Defendants deny the allegations in Paragraph 32 of Plaintiff’s Original Complaint.

34.     No responsive pleading is necessary to Paragraph 33 of Plaintiff’s Original Complaint

35.     Defendants deny the allegations in Paragraph 34 of Plaintiff’s Original Complaint.

36.     Defendants deny the allegations in Paragraph 35 of Plaintiff’s Original Complaint.

37.     Defendants deny the allegations in Paragraph 36 of Plaintiff’s Original Complaint.

38.     Defendants the Prayer for Relief set out in Plaintiff’s Original Complaint.



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                                         OTHER DEFENSES

39.     Plaintiff’s claims are barred by the applicable two-year statute of limitations.

40.     The damages Plaintiff alleges were cause by the conduct of other persons not under the

control of either Defendant.

41.     To the extend Aisenberg, Cordes and/or Felton breached any fiduciary duty, such breach

was unknown to either Defendant, and any such breach was the sole cause of any of the damages

alleged by Plaintiff in this lawsuit.

        WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiff take

nothing, that Defendants recover from Plaintiff their costs, and for such other relief both general

and special, at law or equity, to which Defendants may show themselves justly entitled.

                                                       Respectfully submitted,

                                                      /s/ Bernie E. Hauder
                                                      BERNIE E. HAUDER
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                                                      214-740-2500 - Telephone
                                                      214-740-2501 – Facsimile

                                                      ATTORNEYS FOR DEFENDANTS:

                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing pleading has been served upon all

counsel of record by filing the same in this Court’s CM/ECF system this 6th day of June, 2019.

                                               /s/ Bernie E. Hauder
                                               BERNIE E. HAUDER




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